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SHELBY COUNTY HEALTH CARE .IUDGMENT lN A CIVIL CASE
CORPORATION d/b/a REGIONAL
MEDICAL CENTER,
Plaintiff,

v.
DANELLA VAUGH and TRICARE, CASE NO: 2:05-2507-B

Defendant, Cross-Plaintiff,
v.
TRICARE and SHELBY COUNTY
HEALTH CARE CORPORATION
d/b/a REGIONAL MEDICAL CENTER,

Cross Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ORDERED AND ADJUDGED that in accordance With the Order Of Dismissal With
Prejudice entered on August 12, 2005, this cause is hereby dismissed With prejudice.

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Date Clerk of Court

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02507 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

